




NO. 07-08-0443-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 16, 2009

______________________________





SANTA ROSA CONSTRUCTION COMPANY, APPELLANT



v.



JUAN PEREZ AND MARIA PEREZ, APPELLEES



_________________________________



FROM THE 99
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2006-537,377; HON. JAY GIBSON, PRESIDING



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

ON MOTION TO DISMISS

Pending before the Court is an unopposed motion to dismiss filed by Santa Rosa Construction Company by which Santa Rosa represents the parties have agreed to a compromise settlement agreement resolving all matters in controversy. &nbsp;We grant the motion. &nbsp;Tex. R. App. P. 42.1(a)(1).

Without passing on the merits of the case, the appeal is dismissed. &nbsp;Having dismissed the appeal at the request of the parties, we will not entertain a motion for rehearing and our mandate will issue forthwith.



James T. Campbell

Justice


